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                     Exhibit B
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                                               IN THE C]RCUIT COURT. FOURTH
                                               JUDICIAL CIRCUIT, IN AND FOR
                                               DUVAL COUNTY, FLORIDA

                                               CASE NOS.:         1   6-2023-C. A,-7 40

                                               DIVISION:          CV.F

         CELEBRATION CHURCH OF
         JACKSONVILLE, INC.,

               Plaintifl.



         CHARLES STOVALL WEEMS, IV and
         KERRI WEEMS,

               Defendants


         CHARLES STOVALL WEEMS, IV,
         KERRI WEEMS, and CELEBRATION
         GLOBAL, INC.

               Counter-Plaintiffs,




         CELEBRATION CHURCH OF
         JACKSONVILLE, INC., TIM
         TIMBERLAKE, WAYLAN WISEMAN,
         LISA STEWART, KEVIN CORMIER,
         MARCUS ROWE, ANGELA CANNON,
         JACOB WILLIAM, and LEE
         WEDEKIND, III,

               Counter-Defendants.




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                    ORDER GRANTING IN PART AND DENYING IN PART
                         DEFENDANTS' MOTIONS TO DISMISS

          This matter comes before this Court on "Motion of Counter-Defendant Lee Wedekind, III,

  to Dismiss for Lack of Subject-Matter Jurisdiction," filed on March 28, 2023, and "Counter-

  Defendants Celebration, Timberlake, Wiseman, Stewart, Cormier, Rowe, Cannon, and William's

  Motion to Dismiss Counterclaim for Lack of Subject-Matter Jurisdiction," filed on March 31,

  2023. On lluJy 27, 2023, the Pastors filed their response in opposition to the above-captioned

  motions to dismiss counterclaims. On August 3, 2023, this Court held a hearing on these motions.

                            Qyerview of the Shellcracker Parsonage Dispute

          The Pastors and the Church executed contractsl providing for the Pastors' possession and

  use of the real property at 16073 Shellcracker Road, Jacksonville, Florida (the "Shellcracker

  Parsonage") as well as certain up-fiont and defened compensation.

          Years later, the Church, through its trustees, commissioned a report investigating the

  Pastors' possible misconduct. While that investigation was on-going, Pastor Stoval Weems

  resigned. The Church then published the commissioned repo( on its website, finding that Pastor

  Stovall Weems had breached his fiduciary duties to the Church through fraud and self-dealing and

  that the Pastors failed generally to fulfill the biblical standards for church leadership. In a related

  lawsuit, Case No.: | 6-2022-CA- 1047 (the "Defamation Litigation"), the Pastors sued the Church

  and some individual Counter-Defendants for the defamatory publication of the report.

          The present suit, however, centers around the Pastors' continuing possession of the

  Shellcracker Parsonage and entitlement to compensation after their split from the Church.




  I These contracts are attached as Exhibits A and B to the Pastor-Defendants' "Amended Answer and Affirmative
  Defense, Counterclaim and Demand for Jury Trial," filed on January 19, 2023.

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                    Procedural Background of the Shellcracker PqrsonggLLlliplt9!1

          On June 1,2022,the Chtrch filed a complaint against the Pastors, asserting causes ofaction

  for (i) evictior/ejectment from the Shellcracker Parsonage, and (ii) damages for unpaid rent,

  beginning on the date of the Pastors' resignation.2 On January 19,2023, the Pastors filed an

  amended answer and asserted the follow counterclaims against the Church Counter-Defendants:

  o (1) Declaratory Relief as to Possessory Rights to the Shellcracker Parsonage (Church)
  o (2) Breach of Contract (Church)
  o (3) Breach of Implied Contract (Church)
  o (4) Promissory Estoppel (Church)
  o (5) Breach of Fiduciary Duty (T. Timberlake)
  o (6) Breach of Fiduciary Duty (W. Wiseman)
  o (7) Breach ofFiduciary Duty (L. Stewart)
  o (8) Breach of Fiduciary Duty (Trustees - K. Cormier, M. Rowe, A. Cannon, & J. William)
  o (9) Tortious Interference (All Individual Defendants)
  o (10) Tortious Interference Conspiracy (All Individual Defendants)
  o ( I 1) Unpaid Compensation (Church)
  In March 2023, the Church Counter-Defendants filed their motions to dismiss, claiming the

  ecclesiastical abstention doctrine prohibits this Court from exercising subject matter jurisdiction

  over the Pastors' counterclaims.

                                     The Ecclesiastical Abstention Doctrine

          The ecclesiastical abstention doctrine is rooted in the fiee exercise and establishment

  clauses of the Constitution and provides a categorical institutional barrier against secular courts

  officiating religious controversies. See Napolitano v. St. Joseph Catholic Church,308 5o.3d274,

  277 (Fla.5th DCA 2020). This jurisdictional bar adheres to disputes over church polity and

  administration. Id. at 278. "[T]he doctrine precludes secular courts from exercising jurisdiction

  over ecclesiastical disputes, those about 'discipline, faith, intemal organization, or ecclesiastical



  2
   The Pastors are not se€king to dismiss the Church's ejectment and unpaid rent claims based on the ecclesiastical
  abstention docrine. The pastors had originally asserted the ecclesiastical abstention doctrine as an affrmative defense
  and basis for dismissal- but it was later withdrawn.

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  rule, custom, or law,' as distinguished fiom 'purely secular disputes between third parties and a

  particular defendant, albeit a religiously affiliated organization."' Id. (q:uoting Malichi v. Doe,8l4

  So. 2d 347,357 (Fla. 2002)). A court has jurisdiction to decide secular disputes involving a

  religious entity using neutral legal principles only if "'no issue of doctrinal controversy is

  involved."' Napolitano,30S So. 3d at 278 (q.uoting Jones v. Wolf,443 U.S. 595,605 (1979).

             Aoolication of the Ecclesiastical Abslention Doctrine to the Shellcracker Litisation

         Claims Five through Ten for breach offiduciary duty and tortious interference are premised

  on the underlying power struggle between the Pastors and the Church board. Adjudication ofthese

  claims would require this Court to recognize the existence and extent of corresponding fiduciary

  duties amongst antagonistic church officials and decide whether the Church Counter-Defendants'

  actions constitute a good faith effort to maintain the biblical integrity of the Church or tortious

  interference with the contractual rights of the Pastors. This Court cannot make these types of

  decisions: "no state authority has the power to interfere in matters of ecclesiastical government."

  Napolitano,308 So. 3d at 278-'19 (citirg Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S.

  Ct.2049,2060 (2020)). Accordingly, these tort claims should be dismissed for lack of subject

  matter jurisdiction because their adjudication would require this Court to inappropriately referee

  an intemal power struggle between the Pastors and the Church board.

          This dismissal should be with prejudice. These claims are merely a nominal repackaging

  of the claims already dismissed with prejudice in the Defamation Litigation. Therefore, the Pastors

  should not be given an opportunity to amend. See Grove Isle Ass'n, Inc. v. Grove Isle Assocs.,

  LLLP,t37 So. 3d 1081, 1090 (Fla. 3d DCA 2014).

          Claims One through Four and Eleven relating to parsonage and compensation contracts,

  however, can be resolved entirely on neutral principles of secular law. The same is true for the



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  Church's initial claims for eviction and back rent. The ecclesiastical abstention doctrine does not

  deprive this Court over jurisdiction over these claims because they can be resolved using secular

  principles of contractual interpretation without ensnaring this Court in thomy questions of

  theology and church govemance.

         Accordingly, it is ORDERED that:

         l.      The "Motion of Counter-Defendant Lee Wedekind, III, to Dismiss for Lack of

  Subject-Matter Jurisdiction," filed on March 28, 2023, and "Counter-Defendants Celebration,

  Timberlake, Wiseman, Stewart, Cormier, Rowe, Cannon, and William's Motion to Dismiss

  Counterclaim for Lack of Subject-Matter Jurisdiction," filed on March 3l ,2023, are GRANTED

  IN PART and DENIED IN PART.

         2.      Claims Five through Ten of the Pastors' "Amended Answer & Affirmative

  Defenses, Counterclaim & Demand for Jury Trial," filed on January 19,2023, are DISMISSED

  WITH PREJUDICE.

         DONE AND ORDERED in Jacksonville, Duval County, Florida on October 6, 2023.



                                                                                              CIil-
                                                       MARIANNE L. AHO
                                                       Circuit Judge


  Copies fumished to all counsel of record.


  /tbc




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